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 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd, Suite 130
     Las Vegas, NV 89119
 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6
                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
 7
     In re:                                                  Case No. 21-14486-abl
 8                                                           Chapter 7
 9
     INFINITY CAPITAL MANAGEMENT, INC.
      dba INFINITY HEALTH CONNECTIONS,                       CERTIFICATE OF SERVICE
10
                           Debtor.
11
     The undersigned hereby certifies that I caused to be served the following document(s):
12
                  TRUSTEE’S OBJECTION TO CLAIM NO. 5 [DE #228]
13
                  NOTICE OF HEARING [DE #229]
14   at the time and by the following means to the persons and entities as listed below:
15            ■ U.S. MAIL – On July 11, 2022 to the Notice Address identified on the subject claim,
16   as follows:
17
                  PERSEUS LIMITED
18                1651 S. VICTORIA AVENUE
                  LOS ANGELES, CA 90019
19

20
     DATED: July 11, 2022                        ATKINSON LAW ASSOCIATES LTD.
21
                                                 By:           /s/ Clarisse L. Crisostomo
22                                                     CLARISSE L. CRISOSTOMO, ESQ.
                                                       Nevada Bar No. 15526
23                                                     Attorney for Robert E. Atkinson, Trustee
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